Case 8:22-cv-00956-CEH-MRM Document 28-1 Filed 08/22/22 Page 1 of 3 PageID 196




     COMPOSITE EXHIBIT A
       Case 8:22-cv-00956-CEH-MRM Document 28-1 Filed 08/22/22 Page 2 of 3 PageID 197
            2110 First Street, Suite 3-137                                                   300 N. Hogan Street, Room 700
             Fort Myers, Florida 33901                                                         Jacksonville, Florida 32202
                   239/461-2200                                                                       904/301-6300
                239/461-2219 (Fax)                                                                 904/301-6310 (Fax)



                                               U.S. Department of Justice
            35 SE 1st Avenue, Suite 300
               Ocala, Florida 34471
                                                 United States Attorney                  400 West Washington Street, Suite 3100
                                                                                                Orlando, Florida 32801
                   352/547-3600                 Middle District of Florida                           407/648-7500
                352/547-3623 (Fax)                                                                407/648-7643 (Fax)
                                                            Main Office
                                                 400 North Tampa Street, Suite 3200
                                                       Tampa, Florida 33602
                                                           813/274-6000
                                                        813/274-6358 (Fax)



Reply to:   Tampa

                                                           July 25, 2022

            Carlton E. Hooker, Jr.
            2678 N McMullen Booth Rd Apt. #8111
            Clearwater, FL 33761

                      Re: Carlton E. Hooker, Jr., v. Department of Veterans Affairs
                          Case No.: 8:22-cv-0956-CEH-MRM

            Dear Mr. Hooker,

                   Enclosed please find a CD with electronic files from the Department of Veterans
            Affairs responsive to your FOIA request(s) in the above captioned matter.

                                                                     Sincerely,

                                                                     ROGER B. HANDBERG
                                                                     United States Attorney

                                                                     By: / Lacy R. Harwell, Jr.
                                                                     LACY R. HARWELL, JR.
                                                                     Assistant United States Attorney

            Encl.: CD
         U.S. Postal Service™
               Case 8:22-cv-00956-CEH-MRM
         CERTIFIED     MAIL® RECEIPT      Document 28-1 Filed 08/22/22 Page 3 of 3 PageID 198
                                                                                                                                                     300 :\. Hogan Street, Room 700
.Jl
.Jl
         Domestic Mail Only
             :•fflMIN§fii,l ❖ll,,Fllt
                                               f
                                                                 mva11nw1,•r1•r11,· "
                                                                            u
                                                                                                                 ~r~
                                                                                                                   , -~ \
                                                                                                                   -~
                                                                                                                      ~~(~ ~~)
                                                                                                                              .                        Jacksonville, Florida 32202
                                                                                                                                                               904/301-6300

                                                                            _ sE
Cl
er                                 L
                   ......... I""' I .~
                  ur-r•\,,,••·-
                  V r ■- • ..:.. ~
                                                       I-   A
                                                            M
                                                                                                                   •-~-_:i/~/
                                                                                                                 ;1iP~
                                                                                                                 \ ~;-   0
                                                                                                                                                            904/301-6310 (Fax)

:::r    Certified Mail Fee
rr,
n Extra!;;$-~-~~-----------!
           rvices & Fees /ch<>ck          boX, add tee as appropriate)
                                                                                                             Department of Justice
rn D Return Reoeipt (haldcopy)                                                                                                                   400 West Wa shington Street, Suite 3100
 Cl      D   Rotum Reoelpt (electronic)
                                                   $ -----
                                                   $-----
                                                                                  Postmark                   rited States Attorney                      Orlando, Florida 32801
 Cl      0Certlfled Mall Restricted Dellve<y                                        Here
 CJ       D Adutt Signature Required
                                                   $ _ _ _ __
                                                 $ _ _ _ __
                                                                                                             die District of Florida                         407 /648-7500
                                                                                                                                                          407/648-7643 (Fax)
          D Adutt 51gnawre Restricted [)e\1\/ery $
 Cl Postage                                                                                                        \lain Office
 ru                                                                                                          orth Tampa Street, Suite 3200
 ~ ~sli_.ota
          ~ lp
             =o-sta.,.-g_e_a_nd=Fee
                                 =s---------1                                                                 Tampa, Florida 33602
                                                                                                                  813/274-6000
         $
                        ~         ~ ,_j.... .... ... _~
                                                                                                               813/274-6358 (Fax)
  oj     Sent To •       (t                                              ---······························
  □      Street and Apt. No.,     o}-,,i.a lfox No.
  I"-     c;;y;siaie;ziP+4•·••··················· ---••···································-···



                                                                                                                  August 5, 2022

                             Carlton E. Hooker, Jr.
                             2678 N McMullen Booth Rd Apt. #8111
                             Clearwater, FL 33761

                                             Re: Carlton E. Hooker, Jr., v. Department of Veterans Affairs
                                                 Case No. : 8:22-cv-0956-CEH-MRM

                             Dear Mr. Hooker,

                                     Enclosed please find a CD with electronic files from the Department of Veterans
                             Affairs responsive to your FOIA request(s) in the above captioned matter.

                                                                                                                             Sincerely,

                                                                                                                             ROGER B. HANDBERG
                                                                                                                             United States Attorney

                                                                                                                             By: / Lacy R. Harwell, Jr.
                                                                                                                             LACY R. HARWELL, JR.
                                                                                                                             Assistant United States Attorney

                            Encl.: CD
